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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                              X
THE NEW YORK TIMES COMPANY,                                   :
and ERICA GREEN,
                                                              :
                                        Plaintiffs,
                                                              :
                                                                  COMPLAINT
                       - against -                            :

DEPARTMENT OF EDUCATION,                                      :

                                                              :
                                        Defendant.
                                                              :

________________________________________________X


Plaintiffs THE NEW YORK TIMES COMPANY and ERICA GREEN, by their undersigned

attorney, allege for their Complaint:

               1.      This is an action under the Freedom of Information Act, 5 U.S.C. § 552

(“FOIA”), to obtain an order for the production of agency records from the Department of

Education (“DOE”) in response to a request properly made by Plaintiffs.

                                              PARTIES

               2.      Plaintiff The New York Times Company publishes The New York Times

newspaper and www.nytimes.com. The New York Times Company is headquartered in this

judicial district at 620 Eighth Avenue, New York, New York.

               3.      Plaintiff Erica Green is a reporter for The New York Times newspaper and

an employee of The New York Times Company.

               4.      Defendant DOE is an agency of the federal government that has

possession and control of the records that Plaintiffs seek.
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                                JURISDICTION AND VENUE

               5.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 and 5 U.S.C. § 552(a)(4)(B).

               6.      Venue is premised on the place of business of Plaintiffs and is proper in

this district under 5 U.S.C. § 552(a)(4)(B).

               7.      Plaintiffs have exhausted all administrative remedies available in regard to

the request at issue. See U.S.C. § 552(a)(6)(C).

                                               FACTS

               8.      On May 14, 2018, Ms. Green submitted a FOIA request (the “Request”) to

DOE (18-01896-F), seeking “all emails sent and received by all employees, including all

accounts used by Education Secretary Elisabeth ‘Betsy’ DeVos, at the U.S. Department of

Education” between February 14, 2018, and May 14, 2018, containing any of the following

terms: “Parkland,” “school shooting,” “Broward County,” “Marjory Stoneman Douglas High

School,” “Robert Runcie,” “Nikolas Cruz,” “PROMISE,” “Senator Rubio,” “White House,”

“Federal Commission on School Safety,” or “discipline summit.”

               9.      On May 15, 2018, DOE acknowledged receipt of the Request.

               10.     On June 1, 2018, DOE emailed Ms. Green to inform her that it was still

processing the Request, and that it was unable to respond within 20 working days of its receipt.

               11.     On June 12, 2018, at the request of and in consultation with DOE, Ms.

Green narrowed the scope of the Request. As amended, the Request seeks “all emails sent and

received” by Education Secretary Elisabeth “Betsy” DeVos (on all accounts), Kent Talbert,

Jason Botel, David Eisquith, Nathan Bailey, Josh Venable, Peter Oppenheim, Candice Jackson,

and Ebony Lee, between February 14, 2018, and May 14, 2018, containing any of the following

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terms: “Parkland,” “school shooting,” “school safety,” “Broward County,” “Marjory Stoneman

Douglas High School,” “Robert Runcie,” “Nikolas Cruz,” “PROMISE,” “guns,” “Federal

Commission on School Safety,” and “discipline summit.”

               12.      On July 13, 2018, DOE contacted Ms. Green to inquire whether she

wished to exclude “mass mailings from news sites” and “Department assembled news clips from

various news sources” from the scope of the Request. Ms. Green emailed DOE that same day to

confirm that she did.

               13.      To date, DOE has not made a determination regarding the Request.

                                              COUNT I

               14.      Plaintiffs repeat, reallege, and reincorporate the allegations in the

foregoing paragraphs as though fully set forth herein.

               15.      DOE is an agency subject to FOIA and must therefore release in response

to a FOIA request any disclosable records in its possession at the time of the request and provide

a lawful reason for withholding any other materials as to which it is claiming an exemption.

               16.      Plaintiffs have exhausted all administrative remedies under FOIA, because

DOE has failed to act on the Request within 20 business days. See 5 U.S.C. § 552(a)(6)(A), (C).

               17.      Accordingly, Plaintiffs are entitled to an order compelling DOE to

produce records responsive to the Request.

                                     REQUEST FOR RELIEF

               WHEREFORE, Plaintiffs respectfully request that this Court:

               18.      Declare that the documents sought by the Request, as described in the

foregoing paragraphs, are public under 5 U.S.C. § 552 and must be disclosed;




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               19.    Order DOE to provide the requested records to Plaintiffs within 20

business days of the Court’s order;

               20.    Award Plaintiffs the costs of this proceeding, including reasonable

attorney’s fees, as expressly permitted by FOIA; and

               21.    Grant Plaintiffs such other and further relief as this Court deems just and

proper.



Dated: New York, New York
       January 24, 2019

                                                    _____________/s/_________________
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